






Opinion issued July 11, 2002









     





In The

Court of Appeals

For The

First District of Texas






NO. 01-00-01364-CV






IN THE MATTER OF L.R.






On Appeal from the 314th District Court

Harris County, Texas

Trial Court Cause No. 0001557J






O P I N I O N


	A jury found that appellant, a minor, engaged in the delinquent conduct of
aggravated assault with a deadly weapon.  The jury determined that appellant was in
need of rehabilitation, assessed his punishment at five years in the Texas Youth
Commission, and recommended probation.  The court removed appellant from his
home and placed him in the custody of the chief juvenile probation officer for
placement at the Burnett Bayland Resource Center.  In three points of error, appellant
(1) challenges the legal and factual sufficiency of the evidence, (2) asserts that the
court erred by allowing evidence of a prior bad act into evidence, and (3) claims the
court erred in allowing an improper jury argument.  We affirm.

Background  

	The complainant, also a minor, (1) alleged that appellant stopped by her house,
asked to see her brother, and then pointed a gun at her head after she told him her
brother was not home.  Appellant admitted that he visited the complainant's house
looking for her brother, but denied having a gun and denied threatening her in any
way.  No gun was ever recovered, and the complainant is the only witness who
claimed to have seen a gun.  Below, we summarize the evidence presented at trial.

	The complainant, S.D., testified she was home alone after school on February
18, 2000, when appellant knocked on the front door.  Although she was not a friend
of appellant, S.D. recognized him from the physical education class that both attended
at school.  The complainant opened the door, and appellant asked for her brother.  She
told him that her brother was not home.  Appellant then pulled out a small black
handgun from his pocket, pointed it at her head, and said in a loud voice, "Go get
your brother."  S.D. was able to shut the door and appellant turned and walked away
from the house.  She immediately called her mother at work and told her what
happened.  While complainant was on the phone, a friend of S.D.'s from the
neighborhood knocked on the door.  

	The friend, M.O.,  testified she was approaching the house to borrow some
skates when she heard someone saying in a loud deep voice, "Go get your brother." 
She then saw appellant walking away from the house with his hands in his pockets. 
M.O. was afraid and returned to her house briefly before coming back to check on her
friend.  She found the complainant crying and looking scared.  After hearing what had
happened, M.O. ran back home and returned shortly with her stepfather.  M.O.'s
stepfather saw the complainant in a hysterical state, heard her story, and called 911. 
The girls then went to see S.D.'s aunt, who lived two houses away.  The aunt testified
that S.D. was shaking and had been crying.    

	Officer Tim Morducai responded to the 911 call.  He described the complainant
as upset and hysterical when he arrived.  S.D. told the police officer that appellant had
pointed a gun at her and said he was going to kill her if she didn't get her brother. 
Officer Morducai and several other officers then detained a group of juveniles,
including appellant, who were playing basketball at a house nearby.  The complainant
was driven by the scene and identified appellant.  Appellant was searched by police,
as was the surrounding area, but no gun was found.

	Appellant took the stand in his own defense and testified that he and some
friends had gathered for a wrestling match  and to play basketball.  He went to S.D.'s
house because her brother had said he could borrow some cologne.  He testified he
did not have a gun, and, in fact, he had backed up from the door when he spoke to the 
complainant because a large dog was there with her. (2)  He left without incident after
being told that the brother was not home.  While riding back to his friend's house, he
saw the police arrive.  When questioned by the police, appellant said he did not know
anything about a gun. 

	On cross-examination, the State questioned appellant about his temper.  He
testified that he got angry only when people drove him to it, but he acknowledged that
school records would show there were numerous occasions when he had been angry. 
Also, he agreed that someone would not be lying if he or she testified that appellant
had pushed his father up against a wall in the courthouse hallway the previous day. 
However, he testified that he was not angry when he went to the complainant's house. 
	Three of appellant's friends testified.  They generally corroborated appellant's
account of a wrestling match and a basketball game.  None of the friends said they
saw appellant with a gun.  One friend rode his bike down to the complainant's house
with appellant, but left before the conversation with S.D. took place.

	The State attempted to establish that there was some sort of a confrontation
between two groups of boys the previous day at school that led to the incident, but
details remained elusive.   The complainant's brother was aware of an altercation
involving two groups of kids on that day, but he was not a part of it and did not know
if appellant was involved.  Further, he testified that he had never had any problems
with appellant.  One of appellant's friends testified that appellant had been involved
in another altercation the day before that required him to go to the principal's office,
but that altercation was with a boy named D., not with the complainant's brother.  The
State also introduced, over objections, a school record made the day before the
alleged assault outlining appellant's misbehavior in class.  The State then argued in
closing that appellant's motive in visiting the complainant's house was tied to a
confrontation between two groups of children the previous day.

Legal and Factual Sufficiency  

	As his first point of error, appellant contends that the evidence was legally and
factually insufficient to support the verdict.  In juvenile cases, a reviewing court
applies the criminal sufficiency standards of review.  See In re G.A.T., 16 S.W.3d
818, 828 (Tex. App.--Houston [14th Dist.] 2000, pet. denied).  When evaluating the
legal sufficiency of the evidence, we must view the evidence in the light most
favorable to the verdict and determine whether any rational trier of fact could have
found the essential elements of the offense beyond a reasonable doubt.  King v. State,
29 S.W.3d 556, 562 (Tex. Crim. App. 2000).  Our review of the factual sufficiency
of the evidence requires us to ask whether a neutral review of all the evidence, both
for and against the finding, demonstrates that the proof of guilt is so obviously weak
as to undermine confidence in the jury's determination, or the proof of guilt, although
adequate if taken alone, is greatly outweighed by contrary proof.  Id. at 563.

	We have already outlined the evidence at some length.  The complainant was
the only witness claiming to have seen a gun, while appellant asserted that he never
had a gun.  The jury, as the exclusive judge of witness credibility, was entitled to
believe the complainant and not believe appellant.  See Margraves v. State, 34
S.W.3d 912, 919 (Tex. Crim. App. 2000).  Although no gun was ever recovered,
testimony that uses the term "gun," as the complainant did, is sufficient evidence on
which the jury can conclude that a deadly weapon was used.  Wright v. State, 591
S.W.2d 458, 459 (Tex. Crim. App. 1979).  The State also introduced a handgun into
evidence for demonstration purposes, and the complainant testified that this handgun
was similar to the one used by appellant.  After reviewing the record, we conclude
that the evidence was legally sufficient to support the jury's finding.

	We also find that the evidence was factually sufficient.  The complainant's
testimony was corroborated by her friend who heard someone speaking outside
complainant's house and saw appellant leaving the area with his hands in his pockets. 
Additionally, several witnesses testified to the complainant's hysterical state and her
excited utterances, which were generally consistent with her testimony on the stand. 
None of appellant's witnesses was present for the conversation with the complainant. 
We conclude the evidence of guilt was not so obviously weak as to undermine
confidence in the jury's determination and was not greatly outweighed by contrary
proof.

	We overrule appellant's first point of error.

Admission of School Record	In his second point of error, appellant contends the trial court erred by
admitting evidence of an extraneous bad act.  The court admitted a one page school
record describing appellant's actions in class the day before the alleged aggravated
assault.   The record, which was also read to the jury, was entitled "Office Referral
Form" and said, 

	[L] just walked in after seeing you in the office.  He was extremely mad
still, he was mad at the other student he got in trouble with.  He
slammed book hard on desk, made threats toward the other student that
he was lying and he was going to hit him, he was walking towards him
as he was saying this.  I had to send him back to you to prevent a
possible fight.


Appellant argues that the evidence had no purpose except to show that he acted in
conformity with his bad character the following day, while the State contends the
evidence was properly admitted to show a motive for the aggravated assault.  See
Tex. R. Evid. 404(b).  We apply the Texas Rules of Evidence applicable to criminal
cases.  Tex. Fam. Code Ann. §51.17(c) (Vernon Supp. 2002).  As long as the court's
ruling was within the "zone of reasonable disagreement," there is no abuse of
discretion and we will uphold the ruling.  Santellan v. State, 939 S.W.2d 155, 169
(Tex. Crim. App. 1997).

	The State argues that there was an underlying conflict between two groups of
boys at school, with appellant and the complainant's brother being part of different
groups.  This underlying conflict provided a motive for appellant to go to the
complainant's house with a gun looking for her brother.  The State contends that the
school record shows that appellant was involved in the conflict going on at school,
and was, thus, admissible to show his motive.  The State relies on Peden v. State for
the proposition that evidence of a previous difficulty between the defendant and a
third party may be admitted if it led up to the charged offense, involved the victim in
any way, or tended to reveal the defendant's motive.  917 S.W.2d 941, 951 (Tex.
App.--Fort Worth 1996, pet. ref'd) (citing Ingham v. State, 679 S.W.2d 503, 506
(Tex. Crim. App. 1984)).

	Under the State's theory, then, one would expect that the other student
mentioned in the record would either be the complainant, the complainant's brother,
or someone from the rival group of boys.  However, as the State concedes, we do not
know with whom appellant "got in trouble."  Neither do we know the nature of this
trouble from the school record.  The only evidence further explaining the
precipitating incident mentioned in the record came from one of appellant's friends 
who testified that appellant was called to the principal's office over an altercation
with a boy named D.  The jury could infer that the other student mentioned in the
record was D., but D. was never tied to any rival group or to the complainant's
brother.  In fact, no evidence suggested that appellant and the complainant's brother
were  members of rival groups, and the complainant's brother testified that he never
had any problems with appellant.

	The State's authority does not apply to our facts.  Peden involved  prior
quarreling between the defendant and the victim of the crime.  See Peden, 917 S.W.2d
at 951.  The facts in Ingham, where evidence of previous altercations with a known
third person were admitted to show the defendant's state of mind during the murder
of another, are also not analogous.  There, the victim was killed while the defendant
was looking for the third person involved in the prior altercations.  Ingham, 679
S.W.2d at 505-507.  As we have already noted, the third party here was unidentified
in the school record, and the only other relevant testimony indicated that the person
was not the complainant or her brother.  The school record showed that appellant had
been in trouble at school the previous day and had threatened another person.  This
evidence does not help to explain why appellant would point a gun at the complainant
beyond demonstrating that appellant had a propensity to be angry and make threats. 
This is the type of character conformity evidence that Rule 404(b) prohibits.  Cf.
Zuliani v. State, 903 S.W.2d 812, 827 (Tex. App.--Austin 1995, pet. ref'd) (holding
evidence did not show motive and was inadmissible where extraneous act was against
unrelated third party).  The trial court abused its discretion when it admitted this
evidence.

Harm Analysis

	Having found error, we must now assess whether the error was harmful.  See
Tex. R. App. P. 44.  The Texas Supreme Court has stated that juvenile proceedings
are quasi-criminal in nature, but has not decided whether criminal rules for harm
analysis should be applied on appeal.  In re D.I.B., 988 S.W.2d 753, 756 (Tex. 1999)
(applying civil harm analysis standard when State's use of that standard was not
challenged).  The court did note, however, that "on appeal our civil rules of appellate
procedure govern as far as practicable."  Id.

	Here, the State has cited the criminal harm analysis standard in its brief, and
appellant has not suggested a standard.  Appellant was sentenced under determinate
sentencing whereby he was subject to the possibility of a twenty-year sentence and
transfer to state prison when he reached adulthood.  See Tex. Fam. Code Ann. §
54.04(d)(3) (Vernon Supp. 2002); In re D.V., 955 S.W.2d 379, 380 n.1 (Tex.
App.--San Antonio 1997, no pet.) (describing determinate sentencing); In re D.Z.,
869 S.W.2d 561, 566 (Tex. App.--Corpus Christi 1993, writ. denied) (same).  Given
the quasi-criminal nature of the proceedings and the possibility of a prison sentence
that extends into adulthood, we hold it is not practicable to apply the civil harm
analysis standard in juvenile cases with determinate sentencing.  We agree with the
State that a criminal harm analysis should be applied in this situation.  See D.V., 955
S.W.2d at 380 (applying criminal harm analysis in determinate sentencing case); In
re K.W.G., 953 S.W.2d 483, 488 (Tex. App.--Texarkana 1997, pet. denied) (same);
D.Z., 869 S.W.2d at 565-66 (same).   We expressly do not decide what harm analysis
is appropriate in a case where non-determinate sentencing is involved.  See Tex.
Hum. Res. Code Ann. §61.084(e) (Vernon 2002) (requiring discharge from custody
at age 21 in non-determinate cases).

	Under the criminal harm analysis standard, non-constitutional error must be
disregarded if it does not affect substantial rights.  Tex. R. App. P. 44.2(b).  A
"substantial right is affected when the error had a substantial and injurious effect or
influence in determining the jury's verdict."  King v. State, 953 S.W.2d 266, 271
(Tex. Crim. App. 1997).  Thus, we must decide whether the error had a substantial or
injurious effect on the jury's verdict.  Morales v. State, 32 S.W.3d 862, 867 (Tex.
Crim. App. 2000).  The very process of reaching this decision is the performance of
a Rule 44.2(b) harm analysis.  Id.   

	We examine the record as a whole when conducting a harm analysis.  Id.  We
should not overturn a conviction for non-constitutional error if we have fair assurance
that the error did not influence the jury, or had but a slight effect.  Id.;  Johnson v.
State, 967 S.W.2d 410, 417 (Tex. Crim. App. 1998).  

	The State now argues that because the school record was  "vague" and "simply
said that Appellant threatened to hit another student, the influence this record had was
not substantial or injurious."  This is a fairer description of the evidence than the
State's prior assertion when arguing for its admissibility that the evidence was
"highly probative" to show motive.  Certainly, the evidence was vague in showing the
State's theory of motive, but it demonstrated that appellant was capable of being
angry and threatening others.  Whether this affected appellant's substantial rights is
the question before us.  

	We can consider the presence of other extraneous offense evidence that
reflected poorly on appellant's character when analyzing the harm caused by properly
preserved error.  Cf. Magee v. State, 994 S.W.2d 878, 889 (Tex. App.--Waco 1999,
pet. ref'd) (applying similar analysis to Rule 403 error).  The record indicates that,
before the office referral form was admitted, there was already evidence before the
jury that showed appellant's angry and violent character.  Appellant testified that he
would hit people back when angry, and had agreed that school records would show
there were many times when he had been angry.  Testimony by appellant's friend
indicated that appellant had been involved in an altercation that required him to go
to the principal's office.  The one-page exhibit helped substantiate this earlier
testimony, but it was not key evidence demonstrating appellant's temper problems. 
Also, totally apart from his actions at school, appellant essentially agreed that he had
recently pushed his father up against a wall at the courthouse.

	All this character evidence was either presented without objection at trial or,
if objected to below, was not asserted as error on appeal.  While the admission of this
school record likely had cumulative effect on the jury, we conclude that the effect was
slight and does not warrant reversal.

	We overrule appellant's second point of error.          

Improper Jury Argument  

	In his third point of error, appellant complains about the State's closing
argument where the prosecutor made general statements regarding the problem of
children having access to guns.  At trial, appellant objected, and the prosecutor
responded that the statement was a plea for law enforcement.  The trial court did not
rule, and the prosecutor continued with her argument.  

	Because no ruling was made, nothing has been preserved for our review.  See
Tex. R. App. P. 33.1(a)(2); Cockrell v. State, 933 S.W.2d 73, 89 (Tex. Crim. App.
1996) ("[A] defendant's failure to pursue to an adverse ruling his objection to a jury
argument forfeits his right to complain about the argument on appeal.").

	We overrule appellant's third point of error.

	We affirm the judgment of the trial court.    



						Michael H. Schneider

						Chief Justice



Panel consists of Chief Justice Schneider and Justices Radack and Duggan. (3)  

Publish.  Tex. R. App. P. 47.
1. 		The complainant and appellant were both twelve years old at the time of
the incident.
2. 				The complainant acknowledged having two large dogs.
3. 		The Honorable Lee Duggan, Jr., retired Justice, Court of Appeals, First
District of Texas at Houston, participating by assignment.


